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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Taylor D Pendleton
                               Plaintiff,
v.                                                    Case No.: 1:23−cv−04708
                                                      Honorable Andrea R. Wood
10Q LLC, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 3, 2024:


         MINUTE entry before the Honorable Andrea R. Wood: Telephonic status hearing
held on 4/3/2024. For the reasons stated on the record, Plaintiff's motion for default [15] is
granted. The Court enters Rule 55(a) default against Defendants 10Q LLC, Propelr Music
LLC, and Marriani Records. Plaintiff's motion for extension of time to serve summons
and complaint, or for alternative service [17] and [21] are granted. Plaintiff shall have
until 6/3/2024 to effectuate service on Defendant Antoine Reed. Plaintiff is granted leave
to serve a copy of the complaint and summons to Defendant Reed at his last known email
address and by mail via certified and regular mail to his residential and business
addresses. Additionally, Plaintiff shall publish a copy of the complaint and summons via a
newspaper in Cook County, Illinois. Telephonic status hearing set for 5/15/2024 at 10:15
AM. To ensure public access to court proceedings, members of the public and media may
call in to listen to telephonic hearings. The call−in number is (888) 557−8511 and the
access code is 3547847. Counsel of record will receive an email 30 minutes prior to the
start of the telephonic hearing with instructions to join the call. Persons granted remote
access to proceedings are reminded of the general prohibition against photographing,
recording, and rebroadcasting of court proceedings. Violation of these prohibitions may
result in sanctions, including removal of court−issued media credentials, restricted entry
to future hearings, denial of entry to future hearings, or any other sanctions deemed
necessary by the Court. Mailed notice (lma, )




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